                        IN THE UNITED STATES DISTRICT COURT                      Motion GRANTED.
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
               v.                            )        No. 3:13-cr-00153
                                             )        JUDGE TRAUGER
DORIAN AYACHE                                )


                    GOVERNMENT’S MOTION TO DISMISS COUNT THREE

       The United States of America (“the Government”), by and through David Rivera, United

States Attorney for the Middle District of Tennessee, and the undersigned attorneys, hereby seeks

leave of Court to dismiss Count Three of the Superseding Indictment charging obstruction of

justice pursuant to Title 18, United States Code, Section 1512(c)(1), and only that count.

                                                      Respectfully submitted,

                                                      DAVID RIVERA
                                                      United States Attorney

                                                      BY: s/ William F. Abely
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